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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
v.                                        ) Civil Action No. 4:19-cv-1813
                                          )
PHARM D SOLUTIONS, LLC a corporation, and ) COMPLAINT FOR
LUIS R. DE LEON and                       ) PERMANENT INJUNCTION
JUAN C. DE LEON, individuals,             )
                                          )
                  Defendants.             )
                                          )

       The United States of America, Plaintiff, by and through its undersigned counsel, and on

behalf of the United States Food and Drug Administration (“FDA”), respectfully represents as

follows:

       1.      This statutory injunction is brought under the Federal Food, Drug, and Cosmetic

Act (the “Act”), 21 U.S.C. § 332(a), and this court’s inherent equitable authority, to permanently

enjoin the defendants, Pharm D Solutions, LLC (“Pharm D”), a corporation, and Luis R. De

Leon and Juan C. De Leon, individuals (collectively, “Defendants”), from: (a) violating 21

U.S.C. § 331(a) by introducing and causing to be introduced, and delivering and causing to be

delivered for introduction, into interstate commerce, articles of drug that are adulterated within

the meaning of 21 U.S.C. §§ 351(a)(2)(A), 351(a)(2)(B), and 351(c), and a certain drug that is

misbranded within the meaning of 21 U.S.C. § 352(f)(1); (b) violating 21 U.S.C. § 331(k) by

causing articles of drug to become adulterated within the meaning of 21 U.S.C. §§ 351(a)(2)(A)

and 351(a)(2)(B), and to become misbranded within the meaning of 21 U.S.C. § 352(f)(1), while

such drugs are held for sale after shipment of one or more of their components in interstate

commerce; and (c) violating 21 U.S.C. § 331(d) by introducing and causing to be introduced, and
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delivering and causing to be delivered for introduction, into interstate commerce, a new drug, as

defined by 21 U.S.C. § 321(p), that is neither approved under 21 U.S.C. § 355, nor exempt from

approval.

                                     Jurisdiction and Venue

       2.      This Court has jurisdiction over the subject matter and all parties to this action

under 28 U.S.C. §§ 1331, 1337, and 1345 and 21 U.S.C. § 332(a).

       3.      Venue in this district is proper under 28 U.S.C. § 1391(b) and (c).

                               Defendants and Their Operations

       4.      Pharm D is a Texas corporation currently located at 1304 South Loop West,

Houston, Texas, within the jurisdiction of this Court. Pharm D has been manufacturing drug

products since April 2015 and holds an active pharmacy license in the state of Texas. Pharm D

first registered as an outsourcing facility pursuant to 21 U.S.C. § 353b on August 6, 2014, and

maintained annual registrations through its most recent registration on October 25, 2017, which

expired on December 31, 2018. As of the date of this filing, Pharm D has not re-registered as an

outsourcing facility.

       5.      Dr. Luis De Leon is Pharm D’s Pharmacist-in-Charge and fifty percent owner.

Defendant Luis De Leon is the person most responsible for Pharm D’s operations, including, but

not limited to, manufacturing, licensing, complying with state and federal regulations, quality

operations, labeling, and handling complaints and conducting recalls. Defendant Luis De Leon

performs his duties at Pharm D, within the jurisdiction of this Court.

       6.      Juan C. De Leon is a pharmacist at Pharm D and fifty percent owner. Defendant

Juan De Leon also participates in manufacturing, including supervising technicians and signing




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off on production records and labeling, and handling sales and marketing. Defendant Juan De

Leon performs his duties at Pharm D, within the jurisdiction of this Court.

       7.      During their regular course of business, Defendants manufacture, process, pack,

label, hold, and distribute articles of drug, within the meaning of 21 U.S.C. § 321(g)(1),

including sterile injectable drugs and sterile lyophilized drug products. Sterile drugs include

drugs that are required to be sterile under Federal or state law or drugs that, by nature of their

intended use or method of administration, are expected to be sterile (“sterile drugs”). See 21

U.S.C. § 353b(d)(5). Defendants’ sterile injectable drug products include, among others,

testosterone cypionate, glutathione, sterile water for injection, and magnesium chloride.

Defendants’ sterile lyophilized drug products include human chorionic gonadotropin (HCG) and

Trimix (papaverine/phentolamine/alprostadil). During their regular course of business,

Defendants distributed their drug Testosterone Cypionate/Propionate 200 mg/10 mg/1 mL

Injectable with labels that omitted the required statement “This is a compounded drug.”

       8.      Prior to December 31, 2018, Defendants filled orders for compounded drugs for

“office use” (also referred to as “office stock”) to doctors’ offices throughout the United States.

Defendants also fill orders directly to patients pursuant to patient-specific prescriptions which are

distributed within the state of Texas.

       9.      Defendants manufacture drugs at Pharm D using components that were shipped in

interstate commerce, including components from Minnesota.

                                     The Act’s Requirements

       10.     Under the Act, a “drug” includes any article that is “intended for use in the

diagnosis, cure, mitigation, treatment, or prevention of disease,” 21 U.S.C. § 321(g)(1)(B), and

that is “intended to affect the structure or any function of the body,” 21 U.S.C. § 321(g)(1)(C).



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        11.    A drug is deemed to be adulterated “if it has been prepared, packed, or held under

insanitary conditions whereby it may have been contaminated with filth, or whereby it may have

been rendered injurious to health.” 21 U.S.C. § 351(a)(2)(A).

        12.    The Act requires that drugs be manufactured in accordance with current good

manufacturing practice (“CGMP”). 21 U.S.C. § 351(a)(2)(B); see also 21 C.F.R. § 210.1(b). A

drug is deemed to be adulterated if the methods used in, or the facilities or controls used for, its

manufacture, processing, packing, or holding do not conform to or are not operated or

administered in conformity with CGMP to assure that it meets the requirements of the Act as to

safety and that it has the identity and strength, and meets the quality and purity characteristics,

which it purports or is represented to possess, regardless of whether the drug is actually defective

in some way. FDA has promulgated CGMP regulations for drugs at 21 C.F.R. Parts 210 and

211.

        13.    A drug is deemed to be adulterated if it is not subject to the provisions of 21

U.S.C. § 351(b), and “its strength differs from, or its purity or quality falls below, that which it

purports or is represented to possess.” 21 U.S.C. § 351(c).

        14.    A drug is deemed to be misbranded “unless its labeling bears adequate directions

for use.” 21 U.S.C. § 352(f)(1).

        15.    The Act requires, subject to certain exceptions not applicable here, that drug

manufacturers obtain FDA approval of a new drug application (“NDA”), an abbreviated new

drug application (“ANDA”), or an investigational new drug application (“IND”) with respect to

any new drug they introduce into interstate commerce, 21 U.S.C. §§ 331(d), 355(a). A “new

drug” includes any drug “the composition of which is such that such drug is not generally

recognized, among experts qualified by scientific training and experience to evaluate the safety



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and effectiveness of drugs, as safe and effective for use under the conditions prescribed,

recommended, or suggested in the labeling thereof.” 21 U.S.C. § 321(p)(1).

       16.     The label of a drug compounded in an outsourcing facility must contain several

specified statements and information, including the statement “This is a compounded drug” (21

U.S.C. § 353b(a)(10)(A)(i)), to be eligible for the exemptions applicable to outsourcing facilities.

                        The Act’s Exemptions for Compounded Drugs

       17.     Compounding generally refers to the practice in which a licensed pharmacist or

physician (or, in the case of an “outsourcing facility,” a person under the direct supervision of a

licensed pharmacist) combines, mixes, or alters ingredients to create a drug. Under the Act,

“compounding” by outsourcing facilities “includes the combining, admixing, mixing, diluting,

pooling, reconstituting, or otherwise altering of a drug or bulk drug substance to create a drug.”

21 U.S.C. § 353b(d)(1). Compounded drugs generally are tailored to the needs of identified

individual patients, although outsourcing facilities are not required to obtain prescriptions for

identified individual patients. See 21 U.S.C. § 353b(d)(4)(C).

       18.     Under the Act, an “outsourcing facility” is a facility that engages in the

compounding of sterile drugs, registers as an outsourcing facility pursuant to 21 U.S.C.

§ 353b(b) and complies with all of the requirements of 21 U.S.C. § 353b. See 21 U.S.C.

§ 353b(d)(4)(A).

       19.     Under the Act, drug products compounded in a registered outsourcing facility are

exempt from adequate directions for use and premarket approval requirements if the drugs

compounded by the outsourcing facility are compounded in accordance with all of the conditions

in 21 U.S.C. § 353b. See 21 U.S.C. § 353b(a).




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      20.      Outsourcing facilities under 21 U.S.C. § 353b are not exempt from complying

with CGMP. See 21 U.S.C. § 353b(a).

                                FDA’s August 2018 Inspection

       21.     FDA conducted its most recent inspection of Pharm D between August 13 and 28,

2018 (“2018 Inspection”).

       22.     FDA investigators observed and documented numerous insanitary conditions, as

described further in paragraph 27 below, and violations of CGMP, as described further in

paragraph 33 below.

       23.     As discussed further in paragraph 34 below, FDA investigators also observed and

documented that Defendants manufactured and introduced into interstate commerce two lots of a

drug that had strengths that differed from that which they purported or were represented to

possess.

       24.     As discussed further in paragraphs 38 and 43 below, FDA also observed and

documented that Defendants manufactured and introduced into interstate commerce a drug with

labels that omitted information required by 21 U.S.C. § 353b(a)(10)(A).

       25.     At the close of the 2018 Inspection, FDA investigators issued a Form FDA-483,

List of Inspectional Observations (“FDA-483”) to Defendant Luis De Leon and discussed the

FDA-483 observations with him.

       26.     On September 10, 2018, Pharm D announced a voluntary nationwide recall of all

lots of unexpired sterile compounded drugs and temporarily ceased sterile drug operations.

Pharm D resumed sterile compounding on October 8, 2018, and began limited distribution of

three drugs intended to be sterile on October 24, 2018. Pharm D voluntarily ceased sterile drug

operations again on November 9, 2018. Pharm D has since resumed sterile drug operations.



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                                   Adulteration Due to Insanitary Conditions

        27.     The insanitary conditions observed by FDA at the Pharm D facility during FDA’s

2018 Inspection establish that drugs manufactured and distributed by Defendants are adulterated

within the meaning of 21 U.S.C. § 351(a)(2)(A). The insanitary conditions observed by FDA

during the 2018 Inspection include, but are not limited to:

                a.      Failure to use appropriate aseptic technique while producing drug products

intended to be sterile by, for example, blocking unidirectional high efficiency particulate air

(HEPA) flow while compounding, employees leaning into sterile areas with exposed bare skin,

failing to properly disinfect items before placing them in sterile areas, failing to take appropriate

measures to prevent contamination prior to entering sterile areas, and failing to maintain clean air

supply while handling products intended to be sterile and exposing these products to non-clean

air;

                b.      Failure to ensure that the flow of air and components in sterile

compounding areas is designed to prevent contamination;

                c.      Failure to verify that sterile compounding areas are suitable for sterile

drug production by using adequate smoke studies;

                d.      Failure to adequately clean and disinfect rooms and equipment used to

produce aseptic drug products by, for example, using non-sterile disinfectants and wipes, using

sterile alcohol prep pads with no expiration date, and failing to establish appropriate contact

times for sterile disinfectants;

                e.      Failure to implement adequate environmental monitoring systems by, for

example, failing to utilize appropriate environmental monitoring media plates to support the




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growth of microorganisms, and to conduct environmental monitoring excursion investigations

for microbial contamination, mold, and yeast recovered from sterile processing areas; and

               f.     Failure to engage in appropriate gowning practices to prevent drug

products from contamination by, for example, using bare hands during gowning and exposing

bare skin after gowning.

       28.     Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be

introduced, and delivering and causing to be delivered for introduction, into interstate commerce,

articles of drug that are adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A), in that they

are prepared, packed, or held under insanitary conditions whereby they may have been

contaminated with filth or rendered injurious to health.

       29.     Defendants violate 21 U.S.C. § 331(k) by causing articles of drug to become

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(A), while such drugs are held for sale

after shipment of one or more of their components in interstate commerce.

                            Adulteration Due to CGMP Violations

       30.     During the 2018 Inspection, FDA investigators documented numerous deviations

from CGMP requirements for drugs, including but not limited to Defendants’ failure to:

               a.     Establish and follow appropriate written procedures that are designed to

prevent microbiological contamination of drug products purporting to be sterile, including

validation of all aseptic and sterilization processes, designed to prevent microbial contamination

of drug products purporting to be sterile, see 21 C.F.R. § 211.113(b);

               b.     Establish adequate control systems necessary to prevent contamination

during aseptic processing, including a system for monitoring environmental conditions and for




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cleaning and disinfecting the room and equipment to produce aseptic conditions, see 21 C.F.R.

§§ 211.42(c)(10)(iv) and (v);

               c.      Establish and follow written procedures for production and process control

designed to assure that the drug products have the identity, strength, quality, and purity that they

purport or are represented to possess, see 21 C.F.R. § 211.100(a);

               d.      Review and approve all drug product production and control records to

determine compliance with all established, approved written procedures before a batch is

released or distributed, and thoroughly review and investigate any unexplained discrepancy or

the failure of a batch or any of its components to meet any of its specifications, see 21 C.F.R.

§ 211.192;

               e.      Employ an adequate quality control unit that has the responsibility and

authority to approve or reject all components, drug product containers, closures, in-process

materials, packaging material, labeling, and drug products, and the authority to review

production records to assure that no errors have occurred or, if errors have occurred, that they

have been fully investigated, see 21 C.F.R. § 211.22(a);

               f.      Ensure that for each batch of drug product, there is an appropriate

laboratory determination of satisfactory conformance to final specifications for the drug product,

including the identity and strength of each active ingredient, prior to release, see 21 C.F.R. §

211.165(a);

               g.      Ensure appropriate laboratory testing for each batch of drug product

purporting to be sterile and/or pyrogen-free that the drug product conformed to such

requirements, see 21 C.F.R. § 211.167(a);




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                h.      Establish a written testing program to assess the stability characteristics of

drug products, see 21 C.F.R. § 211.166(a);

                i.      Ensure that personnel engaged in the manufacture, processing, packing, or

holding of drug products wear clean clothing appropriate for the duties they perform, see 21

C.F.R. § 211.28(a);

                j.      Ensure that equipment for adequate control over air pressure, micro-

organisms, dust, humidity, and temperature are provided when appropriate for the manufacture,

processing, packing, or holding of a drug product, see 21 C.F.R. § 211.46(b); and

                k.      Train each person engaged in the manufacture, processing, packing, or

holding of drug products to enable such persons to perform their assigned functions and ensure

that each person responsible for supervising the manufacture, processing, packing, or holding of

a drug product has the education, training, and experience, or any combination thereof, to

perform assigned functions in such a manner as to provide assurance that the drug product has

the safety, identity, strength, quality, and purity that it purports or is represented to possess, see

21 C.F.R. § 211.25(a) and (b).

        31.     These observations establish that Defendants’ drugs are adulterated within the

meaning of 21 U.S.C. § 351(a)(2)(B).

        32.     Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be

introduced, and delivering and causing to be delivered for introduction, into interstate commerce,

articles of drug that are adulterated within the meaning of 21 U.S.C. § 351(a)(2)(B), in that the

methods used in, or the facilities or controls used for, their manufacturing, processing, packing,

and holding do not comply with CGMP to assure that they meet the requirements of the Act as to




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their safety and that they have the identity and strength, and meet the quality and purity

characteristics, which they purport or are represented to possess.

       33.     Defendants also violate 21 U.S.C. § 331(k) by causing articles of drug to become

adulterated within the meaning of 21 U.S.C. § 351(a)(2)(B), while such drugs are held for sale

after shipment of one or more of their components in interstate commerce.

                             Adulteration Due to Subpotent Drugs

       34.     During the 2018 Inspection, FDA investigators observed that two lots of

Defendants’ drug, Lipo-MIC 12 (methylcobalamin, a form of vitamin B12), were subpotent for

the ingredient choline chloride. Specifically, documentation from Defendants’ third-party

laboratory represents that this drug has an acceptance criteria of 90-110% for choline chloride.

However, three repeat tests conducted by this laboratory on one lot of Defendants’ Lipo-MIC 12

product found that the potency of choline chloride was 78.5%, 79.7%, and 80%, respectively. A

test conducted by another third-party laboratory on a different lot of Defendants’ Lipo-MIC 12

product found that the potency of choline chloride was 89%.

       35.     These observations establish that Defendants’ Lipo-MIC 12 is adulterated within

the meaning of 21 U.S.C. § 351(c).

       36.     Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be

introduced, and delivering and causing to be delivered for introduction, into interstate commerce,

articles of drug that are adulterated within the meaning of 21 U.S.C. § 351(c) because

Defendants’ drug has a strength that differs from that which it purports or is represented to

possess.




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                                    Unapproved New Drug

        37.     One of Defendants’ compounded drugs, Testosterone Cypionate/Propionate 200

mg/10 mg/1 mL Injectable, is a new drug within the meaning of 21 U.S.C. § 321(p) in that it is

not generally recognized as safe and effective because there are no published adequate and well-

controlled clinical studies of this drug upon which qualified experts could conclude that the drug

is safe and effective.

        38.     Drugs manufactured at an outsourcing facility in compliance with 21 U.S.C.

§ 353b are exempt from the new drug approval requirements under 21 U.S.C. § 355. 21 U.S.C.

§ 353b(a). To be entitled to that exemption, Defendants need to meet all of the statutory

elements of 21 U.S.C. § 353b for each drug product. See 21 U.S.C. § 353b(a). At the time of the

2018 Inspection, the label for Defendants’ Testosterone Cypionate/Propionate 200 mg/10 mg/1

mL Injectable failed to include the statement “This is a compounded drug” as required by 21

U.S.C. § 353b(a)(10)(A)(i). See 21 U.S.C. §§ 353b(a) and 353b(d)(4)(A). Thus, this drug

product, which is a new drug, is not exempt from the Act’s drug approval requirements. See id.

        39.     Defendants’ drug, Testosterone Cypionate/Propionate 200 mg/10 mg/1 mL

Injectable, lacks an approved NDA or ANDA, as required by 21 U.S.C. § 355, and is not

otherwise exempt from approval under 21 U.S.C. § 355(i). Thus, this drug product is an

unapproved new drug.

        40.     Defendants’ distribution into interstate commerce of an unapproved new drug

violates 21 U.S.C. § 331(d).




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                       Misbranding Due to Inadequate Directions for Use

       41.       Due to their toxicity or other potentiality for harmful effect, or the method of their

use, or the collateral measures necessary to their use, Defendants’ drugs are not safe for use

except under the supervision of a practitioner licensed by law to administer such drugs. As such,

Defendants’ drugs are “prescription drugs” within the meaning of 21 U.S.C. § 353(b)(1)(A).

       42.       “Adequate directions for use” means directions under which the layman can use a

drug safely and for the purposes for which it is intended. 21 C.F.R. § 201.5. A prescription

drug, by definition, cannot bear adequate directions for use by a layperson because such drug

must be administered under the supervision of a licensed practitioner. See 21 U.S.C. § 353(b)(1).

FDA has established exemptions for certain drug products from the requirements that labeling

bear adequate directions for use, but because Defendants’ drug products are unapproved new

drugs, they do not satisfy the conditions for any of these exemptions. See 21 C.F.R. §§ 201.115,

201.100.

       43.       Because at time of the 2018 Inspection, Pharm D was registered as an outsourcing

facility, it was required to comply with all of the requirements of 21 U.S.C. § 353b to be able to

avail itself of the exemptions in that section. Because the labels for Defendants’ Testosterone

Cypionate/Propionate 200 mg/10 mg/1 mL Injectable failed to include the statement “This is a

compounded drug” as required by 21 U.S.C. § 353b(a)(10)(A)(i), this compounded drug does not

qualify for 21 U.S.C. § 353b’s exemption from the requirement for adequate directions for use

contained in 21 U.S.C. § 352(f)(1) and is thus misbranded. See 21 U.S.C. §§ 353b(a),

353b(d)(4)(A).

       44.       Defendants violate 21 U.S.C. § 331(a) by introducing and causing to be

introduced, and delivering and causing to be delivered for introduction, into interstate commerce,



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an article of drug that is misbranded within the meaning of 21 U.S.C. § 352(f)(1), in that the

labeling of the drug fails to bear adequate directions for use, and the drug is not exempt from the

requirements of 21 U.S.C. § 352(f)(1).

       45.     Defendants violate 21 U.S.C. § 331(k) by causing an article of drug that is not

exempt from the requirements of 21 U.S.C. § 352(f)(1) to become misbranded within the

meaning of 21 U.S.C. § 352(f)(1), while such drug is held for sale after shipment of one or more

of its components in interstate commerce.

                   Prior Inspections, Recalls, and Warnings to Defendants

       46.     FDA previously inspected Pharm D between May and June 2015 (“2015

Inspection”) and observed similar insanitary conditions and CGMP deficiencies, including, but

not limited to, failure to conduct media fills that simulate routine production; failure to employ

adequate systems for monitoring environmental conditions, for example, by failing to conduct

active air sampling during aseptic operations; failure to use appropriate aseptic techniques while

producing drug products intended to be sterile, for example, by conducting inadequate smoke

studies and failing to adequately monitor pressure differentials; and failure to employ adequate

systems to clean, maintain, and disinfect rooms and equipment used to produce aseptic drug

products. An FDA investigator also observed during the 2015 Inspection that Defendants’ drugs

had labels that omitted information required by 21 U.S.C. § 353b(a)(10). Despite these

violations, Defendants continued to manufacture drugs without taking adequate corrective

actions.

       47.     At the close of the 2015 Inspection, the FDA investigator issued a FDA-483 to

Defendant Luis De Leon and discussed the inspectional observations with him.




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       48.     In October 2016, Pharm D conducted a voluntary recall of its testosterone

cypionate 200 mg/mL in sesame oil product because it was incorrectly labeled as being prepared

in “grapeseed oil,” and its HCG cyanocobalamin 5000 U product because it was incorrectly

labeled as containing 7500 U.

       49.     FDA issued a Warning Letter on December 8, 2016, to Defendant Luis De Leon

notifying him that Pharm D’s drug products were (a) adulterated because they were

manufactured under insanitary conditions and in violation of CGMP, (b) unapproved new drugs,

and (c) misbranded because their labeling failed to include adequate directions for use and was

false. The Warning Letter further stated that Pharm D, as a registered outsourcing facility, failed

to submit a report identifying the drug products compounded during the previous six-month

period. The Warning Letter noted that the failure to take prompt action to correct deficiencies

could result in legal action without further notice, including seizure or injunction.

       50.     Despite promises to correct their deficiencies, Defendants’ violations persisted, as

evidenced by the violations observed during the 2018 Inspection.

       51.     Plaintiff is informed and believes that, unless restrained by the Court, Defendants

will further violate 21 U.S.C. §§ 331(a), (k), and (d), in the manner alleged herein.

       WHEREFORE, Plaintiff respectfully requests that this Court:

       I.      Permanently restrain and enjoin Defendants and each and all of their directors,

officers, agents, representatives, employees, attorneys, successors, and assigns, and any and all

persons in active concert or participation with any of them, from manufacturing, processing,

packing, labeling, holding, or distributing any article of drug, unless and until Defendants bring

their manufacturing, processing, packing, labeling, holding, and distribution operations into

compliance with the Act and its implementing regulations to the satisfaction of FDA;



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       II.     Permanently restrain and enjoin under 21 U.S.C. § 332(a) Defendants and each

and all of their directors, officers, agents, representatives, employees, attorneys, successors, and

assigns, and any and all persons in active concert or participation with any of them, from directly

or indirectly doing or causing the following acts:

                 A.    Violating 21 U.S.C. § 331(a) by introducing and/or causing to be

introduced, and/or delivering or causing to be delivered for introduction, into interstate

commerce, any drug that is adulterated within the meaning of 21 U.S.C. §§ 351(a)(2)(A),

351(a)(2)(B), and/or 351(c), and/or misbranded within the meaning of 21 U.S.C. § 352(f)(1);

                 B.    Violating 21 U.S.C. § 331(k) by causing any drug to become adulterated

within the meaning of 21 U.S.C. §§ 351(a)(2)(A) and/or 351(a)(2)(B), and/or misbranded within

the meaning of 21 U.S.C. § 352(f)(1), while such drug is held for sale after shipment of one or

more of its components in interstate commerce; and

                 C.    Violating 21 U.S.C. § 331(d) by introducing and/or causing the

introduction into interstate commerce, and/or delivering and/or causing the delivery for

introduction into interstate commerce, of any new drug that is neither approved under 21 U.S.C.

§ 355, nor exempt from approval;

       III.    Authorize FDA pursuant to this injunction to inspect Defendants’ places of

business and all records relating to the receipt, manufacture, processing, packing, labeling,

holding, and distribution of any drug to ensure continuing compliance with the terms of the

injunction, with the costs of such inspections, including testing and sampling, to be borne by

Defendants at the rates prevailing at the time the inspections are accomplished; and

       IV.     Award Plaintiff costs and other such relief as the Court deems just and proper.




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                                  CERTIFICATE OF SERVICE

I hereby certify that on March 20, 2019, a true copy of the foregoing document was filed with

Clerk, U.S. District Court, Southern District of Texas by way of CM/ECF and was served upon

all counsel by electronic mail:


For Defendants Pharm D Solutions, LLC, Luis R. De Leon, and Juan C. De Leon:

ERIC A. HAWLEY
Garcia & Hawley, PLLC
EHawley-team@GHTexasLaw.com

STEPHEN T. SNOW
Bendin Sumrall & Ladner, LLC
SSnow@bsllaw.net


                                                    /s/Raquel Toledo______
                                                    RAQUEL TOLEDO
                                                    Trial Attorney
                                                    Consumer Protection Branch




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